         Case 1:21-cr-00149-RCL Document 1-1 Filed 01/22/21 Page 1 of 7




                                   STATEMENT OF FACTS

        Your affiant, Scott P. Keller II, is employed as a Special Agent by the Federal Bureau of
Investigation (“FBI”). Specifically, I am assigned to the Washington Field Office, where I am
currently tasked with investigating criminal activity in and around the United States Capitol
grounds. As a Special Agent, I am authorized by law or by a government agency to engage in or
supervise the prevention, detention, investigation, or prosecution of violations of Federal criminal
laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
         Case 1:21-cr-00149-RCL Document 1-1 Filed 01/22/21 Page 2 of 7




violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On January 8, 2021, the FBI received a tip from the public that CHANCE UPTMORE of
San Antonio, Texas, posted to his Facebook account a claim that he had videos taken while he was
inside the Capitol building on January 6, 2021. The tipster (hereinafter, “T-1”) provided the FBI
with a screen shot of a Facebook comment in which CHANCE UPTMORE describes the events
of January 6, 2021 and includes a photo of himself outside of the Capitol building.

       In the Facebook comment, CHANCE UPTMORE indicates that he was inside the Capitol
building. He says, “When a painting was grabbed off the wall we helped the cops recover it. The
cops were saying stuff like ‘we stand with you’ ‘thanks for being here’ ‘you made your point now
leave calmly’ I have it all on tape.” The screenshot of the entire comment is below:
           Case 1:21-cr-00149-RCL Document 1-1 Filed 01/22/21 Page 3 of 7




       In the photo that accompanied the comment, CHANCE UPTMORE is standing outside of
the Capitol building and wearing a black winter cap with a white logo and a brown cloth jacket
with breast pockets. Underneath the jacket, he is wearing a zip up gray hoodie. A red cloth
facemask with white writing and white trim is visible in the right breast pocket of the brown jacket.
A copy of the picture is provided below:




        The Facebook account name associated with CHANCE UPTMORE’s comment is “Chance
Uptmore.” T-1 has known CHANCE UPTMORE for over 10 years and confirmed that the
“Chance Uptmore” Facebook account belongs to CHANCE UPTMORE. T-1 also positively
identified CHANCE UPTMORE in the photo described above. CHANCE UPTMORE’s comment,
photo, and Facebook account have since been deleted from public view.

       On January 9, 2021, FBI agents conducted open source and law enforcement database
checks, including a check of the Texas Department of Public Safety (“DPS”) driver’s license
records. Through those checks, FBI agents located a Texas driver’s license record for “Chance
Anthony Uptmore.” The checks further revealed pertinent biographical data, such as CHANCE
UPTMORE’s date of birth and home address. Your affiant compared the Facebook photograph
with CHANCE UPTMORE’s driver’s license photo and believes that the individual in both
photographs is CHANCE UPTMORE.

        On January 14, 2021, FBI agents found a Telegraph UK news story covering the events of
January 6, 2021. 1 A still image from that news story depicts an individual dressed in the same
distinctive clothing and mask that CHANCE UPTMORE was wearing in the Facebook photo
described above. A copy of the photograph is below, with CHANCE UPTMORE encircled:




1
 Publicly available at: https://www.telegraph.co.uk/news/2021/01/14/us-capitol-riot-protest-what-happened-who-
died-trump-impeached/
             Case 1:21-cr-00149-RCL Document 1-1 Filed 01/22/21 Page 4 of 7




       FBI agents also located a CNN article covering the events of January 6, 2021. 2 Like the
Telegraph UK news story, a still image from the CNN article depicts an individual dressed in the
same distinctive clothing and mask that CHANCE UPTMORE was wearing in the Facebook photo
described above. A copy of the photograph is below, with CHANCE UPTMORE encircled:




2
    Publicly available at: https://www.cnn.com/2021/01/10/politics/jason-crow-army-inauguration/index.html.
         Case 1:21-cr-00149-RCL Document 1-1 Filed 01/22/21 Page 5 of 7




      On January 17, 2021, FBI agents executed a federal search warrant for CHANCE
UPTMORE’s residence, vehicle, digital devices, and person. During the execution of that warrant,
FBI agents conducted a non-custodial interview of CHANCE UPTMORE, as well as his father,
JAMES HERMAN UPTMORE, also known as “Sonny,” with whom CHANCE UPTMORE lives.

        CHANCE UPTMORE volunteered that he and JAMES UPTMORE traveled to
Washington, D.C. on January 5, 2021 to attend the January 6, 2021 rally. The trip was also part of
a five-day trip to celebrate CHANCE UPTMORE’s birthday. CHANCE UPTMORE told FBI
agents that both he and JAMES UPTMORE were on Capitol grounds when the breach of the
Capitol building occurred, and both men entered the Capitol building. According to CHANCE
UPTMORE, his father followed CHANCE UPTMORE in after advising CHANCE UPTMORE
not to enter. CHANCE UPTMORE said he entered the Capitol building because he was caught up
in the crowd, and because it was a once in a lifetime event. CHANCE UPTMORE told FBI agents
that he video recorded his experiences inside the Capitol building, and that those videos were still
on his cellular phone. CHANCE UPTMORE also informed FBI agents that JAMES UPTMORE
had additional videos taken inside the Capitol building on his own phone.

        CHANCE UPTMORE identified himself as the man in the CNN photo described above.
UPTMORE explained that he and JAMES UPTMORE had seen the photo on CNN and recognized
themselves. CHANCE UPTMORE identified his father, JAMES UPTMORE, in the CNN
photograph as the gray-haired man standing in front of him with a blue mask on his chin, holding
a cellular phone and stainless-steel cup. A copy of the same photograph is below, with JAMES
UPTMORE encircled:
         Case 1:21-cr-00149-RCL Document 1-1 Filed 01/22/21 Page 6 of 7




       CHANCE UPTMORE also identified himself in the Telegraph UK news photograph.
CHANCE UPTMORE explained that he lost the dark colored sling bag he was carrying in the
photograph. Finally, CHANCE UPTMORE confirmed that he wrote the Facebook comment
described above, and he identified himself in the associated photo. CHANCE UPTMORE told the
FBI agents that a stranger took the photo as they exited the Capitol building.

        In his interview, JAMES UPTMORE volunteered that he entered the Capitol building with
his son, CHANCE UPTMORE. When showed the CNN photograph, JAMES UPTMORE
identified both himself and his son, CHANCE UPTMORE.

        Your affiant submits there is probable cause to believe that CHANCE UPTMORE AND
JAMES UPTMORE violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that CHANCE UPTMORE
AND JAMES UPTMORE violated 40 U.S.C. § 5104(e)(2)(D), (G), which makes it a crime to
willfully and knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly
or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
         Case 1:21-cr-00149-RCL Document 1-1 Filed 01/22/21 Page 7 of 7




to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress; and (G) parade, demonstrate, or picket in any
of the Capitol Buildings.


                                                    _________________________________
                                                    SCOTT P. KELLER
                                                    SPECIAL AGENT
                                                    FEDERAL BUREAU OF
                                                    INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 22nd day of January 2021.


                                                    ___________________________________
                                                    ROBIN M. MERIWEATHER
                                                    U.S. MAGISTRATE JUDGE
